             Case 3:06-cr-00144-JSW         Document 66        Filed 08/23/06     Page 1 of 3



1    KEVIN V. RYAN (CSBN 118321)
     United States Attorney
2
     MARK L. KROTOSKI (CSBN 138549)
3    Chief, Criminal Division
4    CHRISTINA HUA (CSBN 185358)
     CYNTHIA STIER (DCBN 423256)
5    Assistant United States Attorneys
        450 Golden Gate Avenue, Box 36055
6       San Francisco, California 94102-3495
        Telephone: (415) 436-7534
7       FAX: (415) 436-7234
8    Attorneys for Plaintiff
9                                 UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11                                    SAN FRANCISCO DIVISION
12   UNITED STATES OF AMERICA,                    )       No. CR 06-0144 JSW
                                                  )
13           Plaintiff,                           )
                                                  )
14      v.                                        )
                                                  )       STIPULATION AND
15   RENATO MENDOZA MEDINA,                       )       [PROPOSED] ORDER REGARDING
       a/k/a Rene Mendoza Medina,                 )       EXCLUSION OF TIME
16   PHYLLIS REYES CUISON,                        )
       a/k/a Phyllis Cundangan Reyes, and         )
17   RAWLIN CUNDANGAN REYES,                      )
                                                  )
18           Defendants.                          )
                                                  )
19
20      The parties, including the defendants in the above captioned case, came before the Court for a
21   status/trial setting appearance on August 17, 2006. The matter was set over until September 28,
22   2006 at 2:30 p.m. before the Court for a motions hearing and November 20, 2006 at 10a.m. for
23   further motions hearing. The parties agreed, and the Court found, that the time between August
24   17, 2006 through November 20, 2006 is properly excluded under the Speedy Trial Act, Title 18,
25   United States Code, Sections 3161(h)(8)(A), (h)(B)(ii) and (iv), and 3161(h)(1)(F). The parties
26   agree, and the Court previously found that, that the case was complex, due to the nature of the
27
28   STIPULATION AND [PROPOSED]
     ORDER REGARDING EXCLUSION OF TIM E
     [CR 06-0144] [JSW ]
            Case 3:06-cr-00144-JSW           Document 66        Filed 08/23/06      Page 2 of 3



1    crime, the number of different entities, bank accounts, and identities involved, and the large
2    amount of discovery which the defense needs to review. The defendants represented that this
3    delay is necessary so that they can continue to review discovery and prepare defense motions, to
4    be filed no later than August 24, 2006, and September 28, 2006 respectively. The time is
5    necessary to prepare their motions, in light of the complexity of the case and the fact that defense
6    counsel will be unavailable during a portion of this period to work on the case due to other
7    conflicts. The time from August 24, 2006 through September 28, 2006, and the time from
8    September 28, 2006 through November 20, 2006, will further be tolled based on the delay
9    resulting from the filing of pretrial motions through the conclusion of the hearings set on
10   September 28, 2006 and on November 20, 2006, respectively. Due to the complexity of this
11   matter, the need for the defendants to prepare their case by reviewing the voluminous discovery
12   and preparing and filing pretrial motions, failure to grant the requested continuance would
13   unreasonably deny the defense the reasonable time necessary for effective preparation. The
14   parties agree that the continuance from August 17, 2006 through November 20, 2006 is also
15   necessary due to continuity of defense counsel, given the need for defense counsel to spend time
16   preparing the instant case and other cases during this time period. The parties agree that the ends
17   of justice served by granting the requested continuance outweigh the best interest of the public
18   and the defendants in a speedy trial.
19
20   DATED: 8/22/06                                 /S/ Christina Hua
                                                   CHRISTINA HUA
21                                                 Assistant United States Attorney
22
     DATED: 8/22/06                                 /S/ Cristina C. Arguedas
23                                                 CRISTINA C. ARGUEDAS
                                                   Counsel for Renato Mendoza Medina
24
25   DATED: 8/22/06                                  /S/ Lidia Stiglich
                                                   LIDIA STIGLICH
26                                                 Counsel for Rawlin Cundangan Reyes
     //
27
28   STIPULATION AND [PROPOSED]
     ORDER REGARDING EXCLUSION OF TIM E
     [CR 06-0144] [JSW ]
            Case 3:06-cr-00144-JSW           Document 66        Filed 08/23/06      Page 3 of 3



1    DATED: 8/22/06                                 /S/ Ann C. Moorman
                                                   ANN MOORMAN
2                                                  Counsel for Phyllis Reyes Cuison
3                                                  ORDER
4       For the foregoing reasons, and as stated on the record at the August 17, 2006 hearing in this
5    matter, the Court HEREBY ORDERS that the period between August 17, 2006 through
6    November 20, 2006 is excluded from the speedy trial calculation under Title 18, United States
7    Code, Sections 3161(h)(8)(A), (h)(B)(ii) and (iv), and 3161(h)(1)(F). The Court finds that the
8    failure to grant the requested continuance would unreasonably deny defense counsel the
9    reasonable time necessary for effective preparation of the pretrial motions to be filed on August
10   24, 2006, and September 28, 2006, given the complexity of this case and the need for continuity
11   of counsel. Time is also tolled due to the delay resulting from the filing of pretrial motions
12   through the conclusion of the hearings on the motions currently set for September 28, 2006, and
13   November 20, 2006, respectively. The Court finds that the ends of justice served by granting the
14   requested continuance outweigh the best interest of the public and the defendants in a speedy trial
15   and in the prompt disposition of criminal cases.
16
17   IT IS SO ORDERED.
18
19   DATED: August 23, 2006                                ____________________________
                                                           JEFFREY S. WHITE
20                                                         United States District Judge
21
22
23
24
25
26
27
28   STIPULATION AND [PROPOSED]
     ORDER REGARDING EXCLUSION OF TIM E
     [CR 06-0144] [JSW ]
